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 4
     Attorney for Defendant
 5   ORLANDO SALAZAR LOPEZ
 6
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )            No. CR-S 08-562-EJG
12                                   )
                    Plaintiff,       )            STIPULATION AND ORDER
13                                   )
          v.                         )
14                                   )
     HECTOR OJEDA BARRAZA, et. al., )             Date: June 5, 2008
15                                   )            Time: 10:00 p.m.
                    Defendants.      )            Hon. Edward J. Garcia
16   _______________________________ )
17          Defendants Hector Ojeda Barraza, Orlando Israel Salazar Lopez, Jose Antonio
18   Ojeda Cabada, Ricardo Andrade, Jose Gonzalez Arias, Manuel Francisco Barraza, Rosario
19   Francisco Barraza, Jesus Alfonso Barraza Barraza, through their counsel, and the United
20   States, through its counsel, hereby stipulate and request that the Court continue the status
21   conference in the above-captioned case from March 27, 2009, to June 5, 2009, at 10:00
22   a.m.
23          All the listed defendants are charged in this case with conspiracy to distribute and
24   possess with the intent to distribute cocaine, methamphetamine, and heroin in violation of
25   21 U.S.C. §§ 841(a)(1) and 846, as well as other offenses. The indictment is the result of
26   a wiretap investigation.
27          To date, defense counsel have received more than 3,000 pages of discovery,
28   surveillance photos and videos, recorded meetings and phone calls with the undercover
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 1   informant, and hundreds of recorded wiretap-intercepted phone calls. The vast majority of
 2   recorded calls are in Spanish. Further, counsel has received transcripts of many of the
 3   recorded phone calls, which contain translations into English.
 4         The Court has previously made a finding that this case is “complex” and has
 5   excluded time under the Speedy Trial Act on this ground and for defense preparation
 6   through March 27, 2009. This continuance is requested because defendants’ counsel need
 7   additional time to prepare, including reviewing discovery, obtaining transcripts of taped
 8   conversations and other needed records, identifying and interviewing potential witnesses,
 9   conducting legal research, and identifying potential motions to be filed. For these reasons,
10   the parties stipulate and request that the Court exclude time within which the trial must
11   commence under the Speedy Trial Act from March 27, 2009 through June 5, 2009, for
12   defense preparation and complexity under 18 U.S.C. § 3161(h)(8)(B)(ii) and (iv) (local
13   codes T2 and T4).
14                                                Respectfully submitted,
15
           Dated: March 24, 2009
16                                                /s/ John Balazs
                                                  JOHN BALAZS
17                                                Attorney for Defendant
                                                  ORLANDO ISRAEL SALAZAR LOPEZ
18
           Dated: March 24, 2009
19                                                /s/ Manuel Miller
                                                  MANUEL MILLER
20                                                Attorney for Defendant
                                                  HECTOR OJEDA BARRAZA
21
           Dated: March 24, 2009
22                                                /s/ Steven Bauer
                                                  STEVEN BAUER
23                                                Attorney for Defendant
                                                  JOSE ANTONIO OJEDA CABADA
24
           Dated: March 24, 2009
25                                                /s/ John Brennan
                                                  JOHN BRENNAN
26                                                Attorney for Defendant
                                                  RICARDO ANDRADE
27
28                                                 2
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 1         Dated: March 24, 2009
                                                    /s/ Tom Johnson
 2                                                  TOM JOHNSON
                                                    Attorney for Defendant
 3                                                  RENE DIAZ CARRANZA
 4         Dated: March 24, 2009
                                                    /s/ Michael Chastaine
 5                                                  MICHAEL CHASTAINE
                                                    Attorney for Defendant
 6                                                  JOSE GONZALEZ ARIAS
 7         Dated: March 24, 2009
                                                    /s/ Preciliano Martinez
 8                                                  PRECILIANO MARTINEZ
                                                    Attorney for Defendant
 9                                                  MANUEL FRANCISCO BARRAZA
10         Dated: March 24, 2009
                                                    /s/ Peter Kmeto
11                                                  PETER KMETO
                                                    Attorney for Defendant
12                                                  ROSARIO FRANCISCO BARRAZA
13         Dated: March 24, 2009
                                                    /s/ Robert Forkner
14                                                  ROBERT FORKNER
                                                    Attorney for Defendant
15                                                  JESUS ALFONSO BARRAZA BARRAZA
16                                                  LAWRENCE G. BROWN
                                                    U.S. Attorney
17         Dated: March 24, 2009
18                                           By:    /s/ Richard J. Bender
                                                    RICHARD J. BENDER
19                                                  Assistant U.S. Attorney
20
                                                ORDER
21
           IT IS SO ORDERED. For the reasons stated above, the Court finds that the needs
22
     of defense counsel to prepare outweigh the public and the defendants’ interest in a speedy
23
     trial, and therefore the continuance and exclusion of time are in the interest of justice.
24
           Dated: March 24, 2009
25
                                                    /s/ Edward J. Garcia
26                                                  HON. EDWARD J. GARCIA
                                                    U.S. District Judge
27
28                                                  3
